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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JANE DOES 1-7,                                 *
                                               *
       Plaintiffs,                             *
                                               *
       v.                                      *
                                               *      Civil Action No. 1:25-cv-00234 (RDM)
OFFICE OF PERSONNEL                            *
MANAGEMENT,                                    *
                                               *
       Defendant.                              *
                                               *
*      *       *       *       *       *       *      *       *       *       *       *      *

      PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR SANCTIONS

       Defendant Office of Personnel Management’s (“OPM”) Opposition to Plaintiffs’ Motion

for Sanctions essentially concedes that sanctions are appropriate in this case by failing to contest

in any way that a document filed with this Court is false. All OPM needed to do to comply with

Rule 11 of the Federal Rules of Civil Procedure (“Rule 11”) and the other cited authorities was

to withdraw that document. Instead, OPM refused, filing an Opposition that itself continues to

misstate the facts, the law, and this Court’s rulings. Sanctions are plainly appropriate.

                                        INTRODUCTION

       On 5 February 2025, at approximately 10:00 AM—just one hour before they were

scheduled to appear before this Court for a status conference regarding Plaintiffs’ motion for a

Temporary Restraining Order (“TRO”) 1—OPM’s counsel submitted a false document to this

Court. (See Privacy Impact Assessment for Government-Wide Email System (GWES), Dkt. #11-1

(filed Feb. 5, 2025) [hereinafter 1st PIA].) In doing so, OPM used that submission as the sole

basis for arguing that this Court should not only deny the requested TRO but dismiss the entire


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  That conference was rescheduled by one day due to an error by Plaintiffs’ undersigned counsel.
(See Min. Order (filed Feb. 5, 2025).)
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case outright as “moot because . . . OPM has now completed a PIA of the systems used in

association with the hr@opm.gov address.” (Def’s. Opp’n Mot. TRO, Dkt. #10, at 1 (filed Feb.

5, 2025) (emphasis added).)

        That argument found favor with this Court, which denied Plaintiffs’ motion and sent

them back to the drawing board to amend their complaint:

        The Court held a hearing on the motion on February 6, 2025, and denied the
        motion as moot. See Min. Entry (Feb. 6, 2025). As the Court explained, because
        OPM had conducted a PIA, the relief that Plaintiffs sought was no longer
        meaningful; there was no reason for the Court to issue an order barring OPM from
        using computer systems connected to the HR@opm.gov email address because
        the condition precedent that Plaintiffs themselves specified had already been
        satisfied.

(Mem. Op. & Order, Dkt. #21, at 5-6 (filed Feb. 17, 2025) [hereinafter Feb. 17 Order].)

        Now, with the benefit of hindsight, there is no meaningful dispute that the 5 February

PIA (“1st PIA”) relied upon by this Court was false. Specifically, the 1st PIA first correctly

identified as a primary privacy vulnerability that government employees who received emails

sent through the newly-created Government-Wide Email System (“GWES”) might mistakenly

believe they were required to respond to those emails. (See Pls.’ Mot. for Sanctions, Dkt. #28, at

3-4 (filed Feb. 28, 2025) [hereinafter Pls.’ Sanctions Mot.]; 1st PIA at 7 (identifying as a “privacy

risk” in bold font that “[t]here is a risk that individuals will not realize their response is

voluntary.”).) In light of this privacy risk identified by the government, OPM initially represented

and submitted to this Court a PIA assuring Plaintiffs, the Court, and the general public that any

use of the GWES system would “explicitly” disclose that all responses are “voluntary.” Indeed,

the 1st PIA makes assurances of voluntariness at least six times in its brief eleven pages. (See

Pls.’ Sanctions Mot. at 3-4.)




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       OPM does not contest that, after filing the 1st PIA and prevailing in this Court, federal

government employees were subsequently told that responses to GWES emails were not, in fact,

voluntary. (Id. at 6-7 (detailing how GWES was used to send emails where failure to respond

would be taken as a termination).) Indeed, OPM makes literally no effort in its Opposition to

defend the veracity of the 1st PIA (see Def.’s Opp’n Pls.’ Mot. Sanctions, Dkt. #29, at 4-6 (filed

Feb. 28, 2025) [hereinafter OPM’s Opp’n]), and apparently concedes that the 1st PIA is false by

referencing (but not attaching as an exhibit) a supposedly “updated” PIA (“2d PIA”) in a

footnote. (See id. at 8 n.4 (citing OPM, Privacy Impact Assessment for Government-Wide Email

System (GWES) (Feb. 28, 2025), available at https://www.opm.gov/media/kfpozkad/gwes-

pia.pdf (last accessed Mar. 2, 2025) [hereinafter 2d PIA]).) 2 OPM’s “updated” PIA has now

deleted all references to voluntariness, including the primary vulnerability first identified by

OPM itself. (Compare 2d PIA at 8 (“The consequences for failure to provide the requested

information will vary depending on the particular email at issue.”), with Dkt. #11-1 at 7 (“The

Employee Response Data is explicitly voluntary. The individual federal government employees

can opt out simply by not responding to the email.”).)

       The obvious inference is that OPM generated a PIA literally at the 11th hour in a self-

described effort to try and “moot” this litigation with, at minimum, disregard for the actual

content and repeated assurances of that PIA itself. Rule 11 demands more. (See Pls. Sanctions

Mot. at 7-9.)

       Instead of defending its false PIA, OPM makes three arguments, none of which have

merit. First, it contends that its counsel never vouched for the 1st PIA’s accuracy. (See, e.g.,


2
  Plaintiffs do not know why OPM declined to attach the 2d PIA as an exhibit to their Opposition
despite attaching the 1st PIA as an exhibit. Plaintiffs reserve all rights in connection with OPM’s
reliance on and citation to the 2d PIA, including the right to request additional sanctions with this
Court in connection therewith.
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OPM’s Opp’n at 4 (“The word “accurate” does not appear in either transcript.”).) Second, it

argues that this Court did not rely on the 1st PIA and therefore OPM or its counsel cannot be

sanctioned for its falsity. (Id. at 7 (“Further, the Court’s ruling was not based on the content of

the PIA.”).) Finally, OPM’s counsel Olivia Horton claims that she was unaware at the time the

1st PIA was submitted to this Court of how her client might use that information just days after

the Court denied Plaintiffs’ second request for a TRO. (Id. at 7-8.)

                                           ARGUMENT

I.     OPM SUBMITTED AND RELIED UPON THE 1ST PIA TO THIS COURT

       Rule 11(b)(3) requires that an attorney certify to this Court that, on “the best of the

person’s knowledge, information, and belief, formed after an inquiry reasonable under the

circumstances,” the “factual contentions” in a document submitted to this Court “have

evidentiary support or, if specifically so identified, are likely to have evidentiary support after a

reasonable opportunity for further investigation or discovery.” Fed. R. Civ. P. 11(b)(3).

       OPM does not even attempt to allege that the primary factual contention underlying the

1st PIA—that recipients of GWES emails will have the voluntary choice whether to reply to

those emails or not—has or is likely to have evidentiary support. Indeed, the 2d PIA referenced

by OPM states the exact opposite:

       4.2. What opportunities are available for individuals to consent to uses,
       decline to provide information, or opt out of the project?
       Individual federal government employees can decline to provide information by
       not responding to the email. The consequences for failure to provide the requested
       information will vary depending on the particular email at issue.

2d PIA at 8 (italics added).

       If a government employee can suffer “consequences for failure” to respond to a GWES

email, the representations made at least six times in the 1st PIA are obviously false. OPM does


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not argue otherwise, instead quibbling with how counsel characterized the 1st PIA at oral

argument. Those arguments fail.

        A.     OPM ASSURED ALL PARTIES AND THIS COURT THAT THE 1ST PIA
               WAS LEGALLY SUFFICIENT

        OPM first argues that “OPM counsel argued only that the PIA contained the statutory

elements,” and not that the PIA itself was “accurate” such that this court could rely on it. (See

OPM’s Opp’n at 4 (“The word ‘accurate’ does not appear in either transcript.”).) 3

        Not so. After this Court denied Plaintiffs’ first TRO motion, it held oral argument on 14

February 2025 on Plaintiffs’ 2d TRO motion in light of the obviously deficient 1st PIA. At that

hearing, literally the very first thing that OPM’s counsel said was that the 1st PIA was “legally

sufficient”:

        MS. HORTON: I want to refocus on the claims that plaintiffs have brought in this
        case. This is an E-Government Act suit. And the relief that they are requesting is a
        PIA. The difference between the last time that we were here and today is that they
        have asked for a legally sufficient PIA. Our position is that is what we have
        produced.

(Ex. B at 17:19-24 (emphasis added).)

        OPM’s counsel 4 now appear to be arguing that by saying “legally sufficient,” they were

simply assuring this Court that the 1st PIA looks like a PIA but not that it actually was one upon


3
  A true and correct copy of the 6 February 2025 transcript of oral argument on Plaintiffs’ first
TRO motion is attached hereto as Ex. A. A true and correct copy of the 14 February 2025
transcript of oral argument on Plaintiffs’ second TRO motion is attached hereto as Ex. B. Unless
directed to do so by this Court, Plaintiffs will not respond to OPM’s attempt to malign the
undersigned for serving OPM’s counsel with a motion for sanctions while awaiting a transcript
which, prior to OPM’s sudden and public reversal of its position, he did not need. Nor does the
undersigned apologize for filing the served copy in accordance with Rule 11(c)(2) even though
he then knew it to contain some minor inaccuracies which could later be addressed.
4
  To be clear, as noted in Plaintiffs’ Motion for Sanctions, they do not know all the attorneys,
including those who are not employees of the Department of Justice (“DOJ”), who have been
involved in representing OPM in this case. For example, in addition to Ms. Shapiro and Ms.
Horton, two additional attorneys have attended hearings: Jacob Altik and Simon Jerome. (Ex. A
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which this Court and Plaintiffs could actually rely. (OPM’s Opp’n at 4 (“It is a PIA that looks

very much like others. It contains all of the requisite elements.”).) OPM cites to no cases, and

Plaintiffs know of none, either, in which any court has ever permitted a party to evade Rule 11

sanctions—let alone any other kind of sanctions—by claiming that the false document it

submitted to the Court resembles a real one.

       Even if this Court were inclined to entertain such an argument, it would not avail OPM,

because one of the “requisite elements” of a proper PIA includes advising the affected

individuals (here, more than 2.3 million government employees and countless others with .gov

and .mil email addresses) as to “what notice of opportunity for consent would be provided” to

them. As this Court explained:

       The statute also instructs OMB to “issue guidance to agencies specifying the
       required contents” of a PIA, and stipulates that such guidance must require at least
       that PIAs identify the information to be collected, why it is being collecting, the
       intended use of the information, “with whom the information will be shared,”
       “what notice of opportunity for consent would be provided to individuals
       regarding what information is collected and how that information is shared,”
       “how the information will be secured,” and whether the information will be
       maintained in a system of records for purposes of the Privacy Act, 5 U.S.C. §
       552a. E-Government Act, § 208(b)(2)(B).

(Feb. 17 Order at 4 (emphasis added).)



at 2; Ex. B at 2.) It is disingenuous for OPM to claim the no sanctions are appropriate because
Ms. Shapiro and Ms. Horton were ignorant of the falsity of their proffered evidence—even if
that were shown to be true. Simply put, the only way that no sanctions would be appropriate
would be if not a single lawyer involved in this case and not a single official involved in the
drafting of the 1st PIA knew it was false and inaccurate, and proving that is going to require
much more evidence than the Opposition that OPM has filed. For example, while Mr. Altik was
introduced to the Court as being from OPM (Ex. A at 2), he has since been revealed to be
employed by the Department of Government Efficiency (“DOGE”) with a “DOGE email
address[] at the Executive Office of the President.” Justin Elliott et al., The Elite Lawyers
Working for Elon Musk’s DOGE Include Former Supreme Court Clerks, ProPublica (Feb. 7,
2025), at https://www.propublica.org/article/elon-musk-doge-lawyers-supreme-court (last
accessed Mar. 7, 2025). It defies credulity that a senior DOGE lawyer would not know how the
GWES would be used and what information it stored.
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       At oral argument on 14 February, counsel for OPM reiterated that the 1st PIA was

“sufficient under all of the elements that the statute requires.” (Ex. B at 22:11-12.) Counsel

added that there is “no provision in the statute that allows for any plaintiff to challenge the actual

substance beyond those seven elements,” acknowledging that even in OPM’s view of the law,

Plaintiffs are at least entitled to challenge the “substance” of the opportunity for consent

articulated in the PIA. (Id. at 22:14-16 (emphasis added).)

       OPM’s Opposition does not dispute that the 1st PIA promised millions of GWES email

recipients that any responses to such emails would be voluntary even though they were not, and

even though now the Government no longer intends to stand by that promise.

       The very purpose of the safe harbor provisions of Rule 11(b) are to “emphasize[] the duty

of candor by subjecting litigants to potential sanctions for insisting upon a position after it is no

longer tenable while generally providing protection against sanctions if they withdraw or correct

contentions after a potential violation is called to their attention.”). Fed R. Civ. P. advisory notes

(1993 Amendment); see also Reynolds v. U.S. Capitol Police Bd., 357 F. Supp. 2d 19, 24

(D.D.C.2004) (imposing Rule 11 sanctions where plaintiff and counsel resubmitted the same

claims after having been put “on notice that the factual allegations pled . . . were not sufficient”).

       B.      OPM HAS A DUTY OF CANDOR TO THIS COURT REGARDLESS OF
               ITS ARGUMENTS ABOUT STANDING

       In the alternative, OPM asserts that their misrepresentations to this Court are immaterial

because they believe they will prevail on their legal arguments regarding standing. (See OPM’s

Opp’n at 5 (“Such an assurance of accuracy, moreover, would have been superfluous in light of

OPM’s legal position that ‘Plaintiffs’ asserted right to challenge the substance and accuracy of

the PIA is not actionable under the APA.’”).)




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       OPM once again cites zero cases for the proposition that parties are free to mislead the

Court so long as they eventually win on the merits, and for good reason: that position was

foreclosed with finality by the Supreme Court more than three decades ago in Willy v. Coastal

Corporation, 503 U.S. 131 (1992) (upholding Rule 11 sanctions where the district court later

determined that it lacked subject matter jurisdiction, and even where the sanctioned conduct was

unrelated to the threshold jurisdictional question).

       In other words: even if OPM sincerely believes that representing a pleading it filed is true

would be “superfluous”—and even if they are right 5—that would not obviate the duty of candor

to this Court not to submit a false document. In this way this case resembles National Security

Counselors v. CIA, No. 11-443 (D.D.C.) (“NSC v. CIA”), in which Judge Howell was presented

with a motion for sanctions—also against the DOJ Federal Programs Branch and Ms. Shapiro, in

part—over the efforts of the Central Intelligence Agency (“CIA”) and DOJ to obfuscate the

inaccuracy of an exhibit and, when backed into a corner over it, to attempt to blame the

undersigned for “misunderstanding” the exhibit. In a Status Hearing in that case, Judge Howell

harshly rebuked CIA’s counsel:

       [MR. GLASS]: In this case we feel that we were simply slow on the uptake.
       That’s regrettable. We’re sorry. We’ll try to be more -- we will try to be -- to act
       more promptly, to get the correct answer in the future more quickly. But we didn’t
       here, and being slow on the uptake is not acting recklessly or efficaciously or in
       bad faith, and that’s --

       THE COURT: Well, I have to tell you, this kind of apology was not in your
       papers. And the government making mistakes like this -- I understand the
       complications of working with agency counsel in order to make sure, particularly
       with classified information and, you know, that everything that’s presented in
       court with a number of FOIA cases going on is totally accurate, but what really is
       of concern to me is the attitude reflected in the papers and how the government
5
  They are not. Plaintiffs dispute OPM’s view of the law regarding what constitutes a final
agency determination, but merely assume arguendo that even if OPM were to ultimately prevail
on standing, it would nevertheless remain subject to the requirements of Rule 11 while this case
is pending so long as it presents arguments to and files documents with this Court.
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       chose to correct it. When the government ultimately made its submission, it said
       only that it was submitting clear documents that were merely intended to clarify
       the issue, making it seem like Mr. McClanahan was confused and I was confused
       as opposed to the government had made an error. There was nothing in that filing
       or that notice that said, oops, we actually went back and reviewed, and we made a
       mistake. That filing was subterfuge, obfuscation, covering up of the government’s
       error, and I find very disturbing. How did that notice get filed without bluntly
       saying it was an error?

       MR. GLASS: Your Honor, candor is always advisable.

       THE COURT: Always advisable. Candor to the Court.

       MR. GLASS: And we will make sure that that doesn’t happen again.

       THE COURT: Well, to me, that lack of candor comes pretty close to bad faith --

       MR. GLASS: Well, Your Honor --

       THE COURT: -- just so you know how the Court’s viewing those papers that
       have been filed in connection with this case.

       MR. GLASS: Well, as I said, we regret that. We apologize for that, and we will
       make sure that it doesn’t happen again.

       THE COURT: And how are you going to do that? Because how do you know
       how this happened? I have gotten no declarations in response to -- in the
       government’s submission in opposition to the motion for sanctions that I would
       have expected, particularly given the nonchalant filing on October 22nd, 2012,
       correcting the error. I would have expected some kind of declaration or
       explanation that said, this is what happened; this is how the error was made; this
       is how the -- this is how this filing got filed in Court without forthrightly saying
       our prior direct responses to the Court were in error. I got no declarations, just a
       lot of legal argument saying, it’s -- you know, bad faith can’t be shown here, you
       know, it was a trifling error. Nothing saying, this is how it came about, so please
       accept our apology.

Tr. of 2/15/13 Status Hearing at 27:12-29:24, NSC v. CIA, attached as Ex. C.

       In that case, Judge Howell ultimately did not issue sanctions, but only after CIA’s

counsel filed sworn declarations from both a CIA lawyer and a DOJ lawyer explaining who

knew what and when, ultimately blaming a CIA non-legal employee. See Lutz Decl., Dkt. #61-1

(filed Feb. 25, 2013), NSC v. CIA; Parker Decl., Dkt. #61-2 (filed Feb. 25, 2013), NSC v. CIA.

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While the Court may not currently be convinced that sanctions are appropriate in this case, it

should at the very least demand that every Government lawyer associated with this case file a

declaration under oath regarding their knowledge of the falsity and inaccuracy of the 1st PIA, and

only then decide if sanctions are appropriate.

II.    THIS COURT RELIED ON THE 1ST PIA IN DENYING PLAINTIFFS’ FIRST
       TRO MOTION AND REQUIRING PLAINTIFFS TO AMEND THEIR
       COMPLAINT

       The law is clear in this Circuit that “once the district court finds that a pleading is not

well grounded in fact . . . Rule 11 requires that sanctions of some sort be imposed.” Raffety v.

NYNEX Corp., 60 F.3d 844, 852 (D.C. Cir. 1995) (citing Westmoreland v. CBS, Inc., 770 F.2d

1168, 1174-75 (D.C. Cir.1985)) (cleaned up); see also Trump v. Clinton, 640 F. Supp. 3d 1321,

1326 (S.D. Fla. 2022) (“Rule 11 sanctions are properly assessed . . . when a party files a pleading

that has no reasonable factual basis.”)

       Contrary to OPM’s assertion, there is no exception to this rule where a party files false

documents that are not ultimately relied on by the Court. (See OPM’s Opp’n at 7 (arguing that

“the Court’s ruling was not based on the content of the PIA” and “the contents of the PIA played

no role in the Court’s denial of the TRO”).) OPM once again cite no case law in support of this

argument. Cf. Patterson v. Aiken, 841 F.2d 386, 387 (11th Cir. 1988) (imposing Rule 11

sanctions where only one count in a complaint was false because “Rule 11 does not prevent the

imposition of sanctions where it is shown that the Rule was violated as to a portion of a pleading,

even though it was not violated as to other portions”).

       In any event, OPM is also wrong on the facts. Presumably the Court is well aware of its

own rulings, which clearly demonstrate that the filing of the 1st PIA led to this Court’s denial of

Plaintiffs’ first TRO motion. (See Feb. 17 Order at 5-6 & supra at 1-2 (noting that this Court


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denied Plaintiffs’ first TRO motion as moot “because OPM had conducted a PIA”).) Although

the Court was clearly not prepared to delve into a full-blown analysis of the adequacy of the PIA

at that first TRO hearing, the Court nevertheless looked to the substance of the PIA to determine

whether it “checked the boxes” under the E-Government Act.

       Indeed, at that first TRO hearing, after disclosing to the parties that the Court has

“reviewed . . . the privacy impact assessment that OPM has now filed with the Court,” literally

the first substantive question the Court asked of Plaintiffs’ counsel was framed as follows: “It is

my understanding that OPM has done the privacy impact assessment that was the relief you are

seeking in this case, so what does that matter?” (Ex. A at 2:15-17; 6:20-22.)

       A few minutes later, the Court orally denied Plaintiffs’ motion:

       THE COURT: Okay. In that case your motion for a TRO is denied on the grounds
       that the grounds stated in the motion for the TRO are no longer apt, because you
       said -- the grounds that you cite for the TRO is that they didn’t do a PIA. They
       have now done one. The relief that you sought was I ordered them to do it. They
       have now done it.

(Id. at 11:18-23 (emphasis added).)

       OPM argues that the “contents of the PIA played no role in the Court’s denial of the

TRO.” (OPM’s Opp’n at 7.) That, too, is false. Minutes after denying the TRO, the Court stated

as follows:

       So what the statute says is that the PIA has to indicate what information is to be
       collected, why the information is being collected, the intended use of the agency -
       - of the information, with whom the information will be shared, what notice or
       opportunities for consent would be provided. How the information will be secured
       and whether the system of records is being created -- or a system of records is
       being created under the Privacy Act. And I believe that, you know, one can at
       least look at what they filed and check each of those boxes. You may think they
       have erred in some respects, but I think each of those boxes can be checked based
       on what that they have filed.

(Ex. A at 12:15-23 (emphasis added).)


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        In other words, although this Court was not prepared to render a full evaluation of the

adequacy of the 1st PIA, it clearly relied on it in denying relief. Moreover, counsel for OPM

suggested that the filing of the document itself rendered Plaintiffs’ case “moot” and required

them to amend their complaint. (Id. at 18:22-25 (“Our position is that the case is moot, that if he

wants to -- plaintiff wants to challenge the adequacy of the PIA, then that he needs at a minimum

to amend the complaint.”).)

        Here, Plaintiffs lost on their motion and were required to undertake the burden and

expense of additional legal filings due to the false document submitted by defendants. This is the

textbook case for awarding sanctions.

III.    OPM’S COUNSEL WERE REQUIRED TO MAKE A REASONABLE PRE-
        FILING INQUIRY, WHICH WAS NOT DONE

        Finally, OPM suggests that its conduct and that of its counsel should be excused because

“at the time of the TRO proceedings, counsel was entirely unaware” that GWES would be used

to send a mandatory email in derogation of the 1st PIA. (OPM’s Opp’n at 7-8 (quoting an

exchange in which, when asked by the Court “do you know what the plans are going forward?”

counsel replied “Your Honor, I don’t know.”).)

        As OPM itself concedes, this Court’s decision whether or not to impose Rule 11

sanctions does not turn on the subjective knowledge (or lack thereof) of OPM’s counsel, but

rather on “an objective standard of reasonable inquiry on represented parties who sign papers or

pleadings.” Naegele v. Albers, 355 F. Supp. 2d 129, 143-44 (D.D.C. 2005) (cited in OPM’s

Opp’n at 2). Specifically, counsel have a duty to conduct that reasonable inquiry as to the factual

and legal bases for a document before submitting it to the Court. Fed. R. Civ. P. 11(b); see Hilton

Hotels Corp. v. Banov, 899 F.2d 40, 43-44 (D.C. Cir. 1990) (upholding award of sanctions where




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attorney “failed to conduct an adequate prefiling inquiry” into the veracity of the allegations

made in the Complaint).

       Moreover, an objectively reasonable inquiry must attempt “independently to corroborate”

factual assertions made by the client. Id. (“Although we do not believe that it is invariably

sanctionable to rely solely on the client’s word before filing suit . . . we conclude that the District

Court stood on firm ground in deeming it unreasonable for [the attorney] to do so here.”).

In other words: it was incumbent upon all counsel for OPM to determine whether or not their

client intended to abide by the voluntariness language in the 1st PIA at the time that document

was filed with the Court; i.e., on 5 February. Counsel’s lack of knowledge as to how their client

intended to use GWES nearly two weeks later—even if true—does not show a reasonable

prefiling inquiry, especially when Plaintiffs had already identified indicia of responses not being

voluntary. Sanctions are therefore appropriate. Banov, 899 F.2d at 40.

IV.    OTHER SANCTIONABLE CONDUCT

       Plaintiffs have largely limited this Reply to just the question of voluntariness, but it is

important for the Court to consider the 1st PIA in its entirety in the context of this inquiry. For

example, not only the 1st PIA but also the 2d PIA persist in stating that the GWES does not

contain information about individuals who are not federal government employees, and yet it

clearly does. Similarly, and more egregiously, OPM’s counsel led this Court to believe—through

carefully chosen words designed to obfuscate the truth and apparent willful ignorance—that once

information was identified as belonging to an individual who was not an Executive Branch

employee (such as a judge or a contractor), it was removed:

       MS. HORTON: So if we look at the statute, it requires that the consultation about
       whether a PIA be performed be done before the action is taken by the
       government. And so even if there were errors that occurred, the intent that the
       government had was to send emails to federal government employees and to

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       collect information from those people. And so there is no way that the
       government could have known that there would have been a PIA that needed to be
       produced when they were not intending to collect information or distribute
       information to people outside of that group.

       THE COURT: Has that group been removed at this point?

       MS. HORTON: Your Honor, I don’t know all of the facts regarding that. But I do
       know that it seems the judiciary hasn’t continued to receive the emails, other
       groups have not received the emails.

       THE COURT: It is probably a little harder -- it is probably easier to figure out
       who the judiciary emails are going to when it is the courts’ name in the email
       versus if you are just a military contractor and you have a .mil email address.

       MS. HORTON: Sure.

       THE COURT: I’m not sure how you would easily go through and excise those.

       MS. HORTON: I do believe that filtering has been done to crosscheck who the
       emails are going to, but I can’t represent that I know with certainty they are not
       going to anyone they shouldn’t.

(Ex. B at 18:20-19:22.)

       In other words, when the Court directly asked if those individuals had been removed,

OPM’s counsel responded that “filtering has been done to crosscheck who the emails are going

to,” with the clear implication being that once individuals were “filtered,” they would be

removed. However, the most recent series of emails sent from the GWES went in many cases to

those same individuals. At the end of the 14 February hearing, the undersigned warned:

       And even now she says that, well, filtering has been done to stop these emails
       from going out, but she did not say the information had been deleted, just that it
       had been filtered to stop emails from going out. For all we know, all of the
       judicial employees who are no longer getting these emails still have their data in
       the GWES system. They have given us no reason to believe that that information
       was purged. And that goes for the legislative employees, that goes for the
       partners, the AmeriCorps members, it goes for the contractors and it goes for all
       of the federal employees. Now the federal employees you could argue, okay, they
       are allowed to still be there if you find that was a legitimate reason. But there is
       nothing in the record to show that everybody else’s information isn’t still in there.


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(Ex. B at 24:8-21.) This prediction has been vindicated by the 2d PIA, which now explicitly

states, “The GWES uses email address with government domains and uses a filtering mechanism

to remove contact data erroneously captured before emails are sent.” 2d PIA at 6 (emphasis

added). 6

        Taken together, the conduct of OPM and its counsel with respect to the presentation of

the PIAs to the Court “falls short of the level of representation that this Court [should] expect[]

of a United States government agency,” Nat’l Sec. Counselors v. CIA, 960 F. Supp. 2d 101, 139

(D.D.C. 2013), and the Court should soundly reject such litigation gamesmanship. This case is

but the latest in a disturbing recent pattern of government lawyers failing—either negligently or

intentionally—to learn any more than is absolutely necessary about the agency conduct they are

defending, so that they may claim to the Court when called to task that they did not mislead

anyone because they “did not know.” It is therefore necessary for the Court to impose whatever

sanctions it considers appropriate and necessary to penalize OPM and its counsel for wasting the

Court’s and Plaintiffs’ time and to deter repetition of the conduct or comparable conduct by

others similarly situated.




6
  Additionally, the fact that OPM’s counsel used the same precise “filtering” terminology as the
2d PIA raises questions about the extent of her knowledge about the GWES system and how
information is stored in it.
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Date: March 6, 2025

                                     Respectfully submitted,

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